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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                     CASE NO.: 23-23631-Civ-Scola
  FOREO INC.,
           Plaintiff,
  v.
  THE INDIVIDUALS, CORPORATIONS, LIMITED
  LIABILITY COMPANIES, PARTNERSHIPS, AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE A,
           Defendants.
                                                      /

       PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF CERTAIN DEFENDANT

           PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. Pro. 41(a)(1)(A)(i), Plaintiff

  FOREO INC., voluntarily dismisses the following Defendant listed on Schedule A to the

  Complaint without prejudice:

       Doe No.    Defendant Seller          Defendant Online Marketplace
        233       jekyllu.s.a               https://www.ebay.com/usr/jekyllu.s.a

  Dated: February 20, 2024                     Respectfully submitted,
                                               /s/ Rossana Baeza
                                               Rossana Baeza (FL Bar No. 1007668)
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                                               Miami, FL 33131
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                                               rbaeza@bsfllp.com
                                               Counsel for Plaintiff Foreo Inc.
